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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                           EASTERN DIVISION

U.S. BANK NATIONAL                       )
ASSOCIATION, as Trustee,                 )
                                         )
             Plaintiff,                  )
                                         )
      v.                                 )
                                         )      CASE NO. 3:16-CV-650-WKW
DWAYNE A. EDWARDS, TODD                  )
BARKER, OPELIKA ALF, LLC,                )
and THE MEDICAL CLINIC                   )
BOARD OF THE CITY OF                     )
OPELIKA, ALABAMA,                        )
                                         )
             Defendants.                 )


                                     ORDER

      Upon consideration of the parties’ Joint Stipulation of Dismissal (Doc. # 58),

which comports with Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,

this action has been dismissed with prejudice by operation of Rule 41, on the terms

agreed to and set out by the parties. The Clerk of the Court is DIRECTED to close

this case.

      DONE this 6th day of September, 2019.

                                                   /s/ W. Keith Watkins
                                             UNITED STATES DISTRICT JUDGE
